
859 So.2d 526 (2003)
Jimmie M. CARTWRIGHT, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D03-2836.
District Court of Appeal of Florida, First District.
October 7, 2003.
Rehearing Denied November 20, 2003.
Jimmie M. Cartwright, pro se, petitioner.
Charlie Crist, Attorney General, Tallahassee, for respondent.
PER CURIAM.
The circuit court civilly committed petitioner as a sexually violent predator by order entered on March 27, 2003. Petitioner now seeks a belated appeal of the circuit court's order pursuant to Florida Rule of Appellate Procedure 9.141(c). Because proceedings under the Jimmy Ryce Act are civil in nature, see State v. Mitchell, 848 So.2d 1209 (Fla. 1st DCA 2003), rule 9.141(c) is inapplicable, and this court lacks the authority to grant a belated appeal. See Hollingsworth v. Szczecina, 731 So.2d 790 (Fla. 1st DCA 1999)(holding that the court was without authority to grant a belated appeal in a civil matter, but noting that petitioner could seek relief in the trial court by motion pursuant to Florida Rule of Civil Procedure 1.540); Jordan v. Singletary, 724 So.2d 1263 (Fla. 1st DCA 1999). Therefore, we deny the petition.
BARFIELD, BENTON and VAN NORTWICK, JJ., concur.
